Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 1 of 22 Page ID #:17




                       EXHIBIT A
  Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 2 of 22 Page ID #:18
             Electronically Filed by Superior Court of California, County of Orange, 02/03/2022 10:18:59 AM.
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     8                              SUPERIOR COURT OF CALIFORNIA
     9                                                                        Assigned for All Purposes
                                            COUNTY OF ORANGE
    10
          ESPRI L’HEUREUX, an individual,           )      Case No.:
    11                                              )
    12                         Plaintiff,           )      COMPLAINT FOR DAMAGES
          v.                                        )
    13                                              )     (1) MISCLASSIFICATION AS EXEMPT
          VIVAVENTURES OIL SANDS, a Utah            )         EMPLOYEE;
    14    Company; VIVAKOR, INC., a Nevada          )     (2) FAILURE TO PROVIDE MEAL
          Corporation; RPC Design and               )         PERIODS;
    15
          Manufacturing, LLC, a Utah Limited        )     (3) FAILURE TO PROVIDE REST
    16    Liability Company; and DOES 1 through 20, )         PERIODS;
          inclusive,                                )     (4) FAILURE TO PROVIDE ITEMIZED
    17                                              )         WAGE STATEMENTS;
                               Defendants.          )     (5) FAILURE TO PAY WAGES DUE AT
    18
                                                    )         TERMINATION;
    19                                              )     (6) FAILURE TO TIMELY PAY
                                                    )         WAGES;
    20                                              )     (7) PREGNANCY/SEX
                                                    )         DISCRIMINATION IN VIOLATION
    21                                              )         OF FEHA;
    22                                              )     (8) DISCRIMINATION IN VIOLATION
                                                    )         OF CFRA;
    23                                              )     (9) INTERFERENCE WITH CFRA
                                                    )         RIGHTS;
    24                                              )     (10) RETALIATION IN VIOLATION OF
                                                    )         CFRA;
    25
                                                    )     (11) WRONGFUL TERMINATION IN
    26                                                        VIOLATION OF PUBLIC POLICY;
                                                          (12) UNFAIR BUSINESS PRACTICES—
    27                                                        BUSINESS & PROFESSIONS CODE
                                                              SECTIONS 17200 ET. SEQ.
    28


                                        COMPLAINT FOR DAMAGES
                                                1 of 18

                                                                                             EXHIBIT A, PAGE 16
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 3 of 22 Page ID #:19




  1                                                         DEMAND FOR JURY TRIAL
  2
              COMES NOW Plaintiff Espri L’Heureux (“Plaintiff”) for the following allegations and
  3
       causes of action against Defendant Vivaventures Oil Sands, Defendant Vivakor, Inc., Defendant
  4
       RPC Design & Manufacturing, LLC; and Does 1 through 20 (collectively “Defendants”):
  5
                                                    PARTIES
  6
              1.      Plaintiff is an adult female who at all relevant times is and was residing in the
  7
       State of California.
  8
              2.      Plaintiff is informed and believes and on that basis alleges that Defendant
  9
       Vivaventures Oil Sands (“Defendant”), is and at all relevant times was a company organized and
  10
       existing under the laws of the State of Utah, and wholly owned subsidiary of Vivakor, Inc.
  11
       Defendant does business in the County of Orange, State of California, acquiring properties for
  12
       development, and overseeing its subsidiaries primarily engaged in producing solvents and
  13
       methodologies for the extraction of crude oil. Plaintiff worked for Defendant out of its corporate
  14
       office in Irvine, California, in the County of Orange
  15
              3.      Plaintiff is informed and believes and on that basis alleges that Defendant
  16
       Vivakor, Inc. (“Defendant” or “Vivakor”), is and at all relevant times was a corporation
  17
       organized and existing under the laws of the State of Nevada. Defendant does business in the
  18
       County of Orange, State of California, acquiring properties for development, and overseeing its
  19
       subsidiaries primarily engaged in producing solvents and methodologies for the extraction of
  20
       crude oil. Plaintiff worked for Defendant out of its corporate office in Irvine, California, in the
  21
       County of Orange.
  22
              4.      Plaintiff is informed and believes and on that basis alleges that Defendant RPC
  23
       Design and Manufacturing, LLC (“Defendant” or “RPC”), is and at all relevant times was a
  24
       wholly owned subsidiary of Vivakor, Inc., organized and existing under the laws of the State of
  25
       Utah. Defendant does business in the County of Orange, State of California, primarily engaged
  26
       in producing solvents and methodologies for the extraction of crude oil. Plaintiff worked for
  27
       Defendant out of its corporate office in Irvine, California, in the County of Orange.
  28


                                        COMPLAINT FOR DAMAGES
                                                2 of 18

                                                                                               EXHIBIT A, PAGE 17
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 4 of 22 Page ID #:20




  1
             5.      Defendants employed Plaintiff and more than 5 employees. As such, Defendant
  2
      was at all relevant times an “employer” defined by the California Fair Employment and Housing
  3
      Act (“FEHA”) and the California Family Rights Act (“CFRA”).
  4
             6.      Plaintiff is ignorant of the true names and capacities of Defendants sued herein as
  5
      Does 1 through 20, inclusive, and therefore sue these Defendants by such fictitious names.
  6
      Plaintiff will amend this Complaint to allege their true names and capacities when the same have
  7
      been ascertained. Plaintiff is informed and believes and thereupon alleges that each of the
  8
      fictitiously named Defendants is legally and/or equitably responsible for the occurrences herein
  9
      alleged. At all times herein mentioned Defendants, and each of them, were the agents and
 10
      employees of the other Defendants, and each of them, and in doing the things hereinafter alleged,
 11
      were acting in the course and scope of the agency and employment and with the permission of
 12
      Defendants, and each of them.
 13
                                       JURISDICTION AND VENUE
 14
             7.      This Court has subject matter jurisdiction over this matter because at all times
 15
      relevant herein, Plaintiff was employed and terminated by Defendants in the County of Orange.
 16
      Therefore, all of Plaintiff’s injuries occurred in Orange County, California to a sum of at least
 17
      $25,000.
 18
             8.      Venue is proper in the County of Orange because at all times relevant herein
 19
      Plaintiff worked for Defendants in Irvine, California in the County of Orange. Defendants have
 20
      at all relevant times maintained, owned and managed properties in Orange County, California
 21
      and committed wrongful conduct against Plaintiff in Orange County, California.
 22
             9.      This Court is the proper court for trial in this action in that the actions and
 23
      omissions of Defendant as alleged herein were made within this Court’s jurisdictional area.
 24
                                 COMMON FACTUAL ALLEGATIONS
 25
             10.     Defendant hired Plaintiff on or about November 2019 as a receptionist and front
 26
      desk worker. At all relevant times, Plaintiff successfully performed her job duties to the
 27
      satisfaction of her managers and supervisors.
 28


                                       COMPLAINT FOR DAMAGES
                                               3 of 18

                                                                                              EXHIBIT A, PAGE 18
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 5 of 22 Page ID #:21




  1
             11.     At all relevant times, Defendants obviously misclassified Plaintiff as an
  2
      independent contractor. Amongst other things, Plaintiff was not customarily engaged in an
  3
      independently established trade or business of the same nature as the work performed for
  4
      Defendants.
  5
             12.     Nevertheless, on or about December 2020, Plaintiff informed her employers that
  6
      she was pregnant.
  7
             13.     Throughout her pregnancy, Plaintiff would request time off for doctor’s
  8
      appointments. Time for this pregnancy-related appointments was routinely granted by
  9
      Defendants.
 10
             14.     On or about May 2021, due to her pregnancy, Plaintiff requested maternity leave.
 11
      Plaintiff had to request maternity leave multiple times, until it was eventually approved during an
 12
      in-person conversation with Tyler Nelson on or about the week of June 14, 2021. Plaintiff had a
 13
      further conversation about maternity leave via email on or about June 24, 2021. Plaintiff’s
 14
      understanding from these conversations with her supervisor Tyler Nelson was that she would be
 15
      granted maternity leave of six weeks. Plaintiff gave birth on July 6, 2021, and informed her
 16
      supervisor on July 27, 2021 that she would return on August 18, 2021.
 17
             15.     On August 2, 2021, Plaintiff’s supervisor, Tyler Nelson, informed her that
 18
      business was slow and that she was not eligible for maternity leave or unemployment because
 19
      she was not an employee, but was an independent contractor.
 20
             16.     On or about September 9, 2021, Plaintiff was informed via a telephone
 21
      conversation with an agent of Defendants that Defendants had no intentions to bring her back to
 22
      work. At all relevant times, Plaintiff was misclassified as an independent contractor and was
 23
      misinformed of her rights under California law, including but not limited to the right to maternity
 24
      leave, the right to the protections of the Fair Employment and Housing Act (“FEHA”), and her
 25
      right to baby bonding time and pregnancy disability leave (“PDL”) under the California Family
 26
      Rights Act (“CFRA”).
 27
             17.     Defendants’ acts and/or omissions resulted in substantial improper cost savings to
 28
      the Defendants, as well as the improper loss of pay, benefits and protections to Plaintiff. Plaintiff

                                       COMPLAINT FOR DAMAGES
                                               4 of 18

                                                                                             EXHIBIT A, PAGE 19
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 6 of 22 Page ID #:22




  1
      worked diligently for nearly two years while being denied, among other things, legally required
  2
      and uninterrupted meal and rest break times during multiple periods, at the direction and
  3
      oversight of Defendants. Plaintiff was also not timely paid all the compensation to which she was
  4
      entitled upon the termination of her employment with Defendants and was not reimbursed for
  5
      necessary business expenditures. Instead, Defendants have willfully failed to ever pay Plaintiff
  6
      certain accrued wages and other compensation due to her.
  7
             18.     Plaintiff is informed and believes, and based thereon alleges that Defendants
  8
      discriminated against Plaintiff on account of her sex and pregnancy by terminating her for
  9
      exercising her right to pregnancy-related leave.
 10
             19.     Plaintiff further alleges that Defendants violated California’s CPRA for
 11
      interfering with Plaintiff’s attempt to exercise the right to baby bonding leave, and/or for
 12
      retaliation against Plaintiff for taking leave. (Gov. Code, § 12945.2 et seq.).
 13
             20.     Plaintiff also alleges that her termination was in violation of California’s
 14
      fundamental public policy of protecting the pregnant as encompassed by the FEHA and CFRA.
 15
             21.     On December 3, 2021, Plaintiff filed with the California Department of Fair
 16
      Employment and Housing (“DFEH”) a complaint-charging Defendant with discrimination in
 17
      violation of FEHA. On the same date, the DFEH issued Plaintiff a right-to sue letter.
 18
                                        FIRST CAUSE OF ACTION
 19
                             (Misclassification as an Independent Contractor)
 20
                                           (Against All Defendants)
 21
             22.     Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
 22
      inclusive, and incorporates each by reference as through fully set forth hereat.
 23
             23.     The California Supreme Court has applied the “ABC test” through its landmark
 24
      decision in Dynamex. (See Dynamex Operations West, Inc. v. The Superior Court of Los Angeles
 25
      County (2018) 4 Cal.5th 903.)(See Vazquez v. Jan-Pro Franchising International, Inc. (2019)
 26
      923 F.3d 575.) The “ABC Test” is the relevant test to determine whether Plaintiff was
 27
      misclassified as an independent contractor. The three-prong test requires satisfaction of all three
 28
      elements which are:

                                       COMPLAINT FOR DAMAGES
                                               5 of 18

                                                                                             EXHIBIT A, PAGE 20
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 7 of 22 Page ID #:23




  1           “(1) that the worker is free from the control and direction of the hirer in connection with
              the performance of the work, both under the contract for the performance of such work
  2
              and in fact;
  3           (2) that the worker performs work that is outside the usual course of the hiring entity's
              business; and
  4           (3) that the worker is customarily engaged in an independently established trade,
              occupation, or business of the same nature as the work performed for the hiring entity.”
  5           (Dynamex Operations West, Inc. v. The Superior Court of Los Angeles County (2018) 4
  6           Cal.5th 903, 916-917).
              24.     Defendants will not be able to establish a single prong, much less all three.
  7
      Plaintiff was a receptionist, which is a standard feature of any corporate office. Defendants
  8
      directed Plaintiff’s day-to-day activities. Plaintiff was not engaged in an independent trade of
  9
      being a receptionist while she worked for Defendants only.
 10
              25.     Nonetheless, the Defendants misclassified Plaintiff as an independent contractor
 11
      while knowingly benefiting from Plaintiff working full time for them.
 12
              26.     As an actual and proximate cause of the Defendants’ violations of the applicable
 13
      California wage and hour laws, as well as FEHA, CFRA, and other rights and privileges granted
 14
      to employees in California, Plaintiff has suffered resulting financial damage in form of lost
 15
      wages and benefits.
 16
                                        SECOND CAUSE OF ACTION
 17
                             (Failure to Provide Meal Periods or Compensation)
 18
                                              (Against all Defendants)
 19
              27.     Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
 20
      inclusive, and incorporates each by reference as through fully set forth hereat.
 21
              28.     Pursuant to Labor Code § 512, no employer shall employ an employee for a work
 22
      period of more than five (5) hours without a meal break of not less than thirty (30) minutes in
 23
      which the employee is relieved of all of his or her duties. Furthermore, no employer shall employ
 24
      an employee for a work period of more than ten (10) hours per day without providing the
 25
      employee with a second meal period of not less than thirty (30) minutes in which the employee is
 26
      relieved of all of her or her duties.
 27
 28


                                        COMPLAINT FOR DAMAGES
                                                6 of 18

                                                                                             EXHIBIT A, PAGE 21
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 8 of 22 Page ID #:24




  1
              29.    At all relevant times, because of Defendants’ misclassification of Plaintiff,
  2
      Defendants failed to provide timely and compliant meal periods of at least 30-minutes before the
  3
      fifth hour of work, and second meal periods for shifts in excess of ten hours. Additionally,
  4
      Defendants failed to pay Plaintiff one additional hour of pay at the employee’s regular rate of
  5
      compensation for each workday that a complaint meal period was not provided.
  6
              30.    Pursuant to Labor Code § 226.7, if an employer fails to provide an employee with
  7
      a meal period or rest period as provided in the applicable Wage Order of the Industrial Welfare
  8
      Commission, the employer shall pay the employee one additional hour of pay at the employee’s
  9
      regular rate of compensation for each work day that a non-compliant meal period is not provided.
 10
              31.    By failing to keep adequate time records, as required by Labor Code § 226 and
 11
      §1174, Defendant made it difficult to calculate the unpaid meal period compensation due
 12
      Plaintiff.
 13
              32.    As a result of the unlawful acts of Defendants, Plaintiff has been deprived of one
 14
      additional hour of pay at the employee’s regular rate of compensation for each work day that a
 15
      complaint meal period was not provided, in amounts to be determined at trial, and is entitled to
 16
      recovery of such amounts, plus interest and penalties thereon, attorneys’ fees, and costs, under
 17
      Labor Code § 226 and § 226.7, Code of Civil Procedure § 1021.5, and Civil Code § 3287.
 18
                                       THIRD CAUSE OF ACTION
 19
                            (Failure to Provide Rest Periods or Compensation)
 20
                                           (Against all Defendants)
 21
              32.    Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
 22
      inclusive, and incorporates each by reference as through fully set forth hereat.
 23
              33.    At all relevant times, because of Defendants’ misclassification of Plaintiff,
 24
      Defendants failed to provide Plaintiff will all rest periods for every four (4) hours or major
 25
      fractions thereof worked per day by Plaintiff. Additionally, Defendants failed to pay Plaintiff one
 26
      additional hour of pay at the employee’s regular rate of compensation for each workday that a
 27
      complaint rest period was not provided.
 28


                                       COMPLAINT FOR DAMAGES
                                               7 of 18

                                                                                             EXHIBIT A, PAGE 22
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 9 of 22 Page ID #:25




  1
             34.     By their failure to provide rest periods for every four (4) hours or major fractions
  2
      thereof worked per day by Plaintiff, and failing to provide compensation for such unprovided
  3
      rest periods, Defendants willfully violated the provisions of Labor Code § 226.7 and the IWC
  4
      Wage Order.
  5
             35.     Pursuant to Labor Code § 226.7, if an employer fails to provide an employee with
  6
      a rest period as provided in the applicable Wage Order of the Industrial Welfare Commission, the
  7
      employer shall pay the employee one additional hour of pay at the employee’s regular rate of
  8
      compensation for each workday that a complaint rest period is not provided.
  9
             36.     As a result of the unlawful acts of Defendants, Plaintiff has been deprived of one
 10
      additional hour of pay at Plaintiff’s regular rate of compensation for each work day that the rest
 11
      period was not provided, in amounts to be determined at trial, and is entitled to recovery of such
 12
      amounts, plus interest and penalties thereon, attorneys’ fees, and costs, under Labor Code § 226
 13
      and § 226.7, Code of Civil Procedure §1021.5, and Civil Code § 3287.
 14
                                      FOURTH CAUSE OF ACTION
 15
                         (Failure to Provide Accurate Itemized Wage Statements)
 16
                                           (Against all Defendants)
 17
             37.     Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
 18
      inclusive, and incorporates each by reference as through fully set forth hereat.
 19
             38.     California Labor Code § 226, subdivision (a) requires Defendants to provide
 20
      Plaintiff with itemized wage statements consisting of gross wages earned, total hours worked, all
 21
      deductions from payment of wages, net wages earned, the inclusive dates of the period for which
 22
      she is paid, the name and address of the legal entity that is her employer, and all applicable
 23
      hourly rates in effect during the pay period and the corresponding number of hours worked at
 24
      each hourly rate by Plaintiff. Defendants, and each of them, have knowingly and intentionally
 25
      failed to comply with Labor Code § 226, subdivision (a) on each and every wage statement that
 26
      should have been provided to Plaintiff.
 27
 28


                                       COMPLAINT FOR DAMAGES
                                               8 of 18

                                                                                            EXHIBIT A, PAGE 23
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 10 of 22 Page ID #:26




   1
              39.     At all relevant times, as a result of Defendants’ misclassification of Plaintiff,
   2
       Defendants failed to issue Plaintiff with accurate itemized wage statements in compliance with
   3
       Labor Code 226(a).
   4
              40.     As a result of Defendants’ unlawful conduct, and each defendant constituting
   5
       Defendants’ unlawful conduct, Plaintiff has suffered injury. The absence of accurate information
   6
       on her wage statements has delayed timely challenge to Plaintiff’s unlawful pay practices,
   7
       requires discovery and mathematical computations to determine the amount of wages owed,
   8
       causes difficulty and expense in attempting to reconstruct time and pay records, and led to
   9
       submission of inaccurate information about wages and amounts deducted from wages to state
  10
       and federal government agencies.
  11
              41.     Pursuant to Labor Code §226, subdivision (e) Plaintiff is entitled to recover Fifty
  12
       Dollars ($50) for the initial pay period during the Penalty Period in which violation of Labor
  13
       Code § 226 occurred and One Hundred Dollars ($100) for each violation of Labor Code § 226 in
  14
       a subsequent pay period, not to exceed an aggregate penalty of Four Thousand Dollars ($4,000).
  15
       Further, pursuant to Labor Code § 226, subdivisions (e) and (g), Plaintiff is entitled to recover
  16
       the full amount of penalties due under Labor Code § 226, subdivision (e), as well as reasonable
  17
       attorney’s fees and costs of suit.
  18
                                            FIFTH CAUSE OF ACTION
  19
                                  (Failure to Pay Wages Due at Termination)
  20
                                              (Against all Defendants)
  21
              42.     Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
  22
       inclusive, and incorporates each by reference as through fully set forth hereat.
  23
              43.     California Labor Code § 201 and § 202 require Defendant to pay all of an
  24
       employee’s wages immediately upon termination of employment. Labor Code § 203 provides
  25
       that if an employer willfully fails to timely pay such wages the employer must, as a penalty,
  26
       continue to pay the subject employees’ wages until the back wages are paid in full or an action is
  27
       commenced. The penalty cannot exceed 30 days of wages.
  28


                                            COMPLAINT FOR DAMAGES
                                                    9 of 18

                                                                                              EXHIBIT A, PAGE 24
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 11 of 22 Page ID #:27




   1
              44.     As alleged above and below, Plaintiff is entitled to compensation for wages
   2
       earned and wages for missed meal and rest periods, but to date has not received such
   3
       compensation. Furthermore, after being terminated on or about September 9, 2021, Plaintiff was
   4
       not provided her final pay/wages in a timely manner as required by Labor Code §§ 201-203.
   5
              45.     As a consequence of Defendant’s willful conduct in not paying wages for missed
   6
       rest and meal periods and failing to timely pay all wages due upon termination, Plaintiff is
   7
       entitled to thirty (30) days wages as a penalty under Labor Code § 203, together with interest
   8
       thereon and attorneys’ fees and costs pursuant to Labor Code § 218.5 and §1194, Code of Civil
   9
       Procedure § 1021.5, and Civil Code § 3287.
  10
                                              SIXTH CAUSE OF ACTION
  11
                                        (Failure to Timely Pay Wages)
  12
                                             (Against all Defendants)
  13
              46.     Plaintiff re-alleges each and every allegation set forth in the paragraphs above,
  14
       inclusive, and incorporates each by reference as through fully set forth hereat.
  15
              47.     As a result of Defendants’ misclassification of Plaintiff, Defendants to date have
  16
       failed to pay Plaintiff all wages due and owing to her, including but not limited to premium pay
  17
       for missed meal and rest periods. As a proximate result of Defendants’ willful, knowing and
  18
       intentional violations of the Labor Code, Plaintiff has suffered and continues to suffer wage
  19
       losses in a sum according to proof.
  20
              48.     Plaintiff also seeks interest thereon, and attorneys’ fees and costs in prosecuting
  21
       her claim pursuant to Labor Code § 218.5 and § 1194, Code of Civil Procedure §1021.5, and
  22
       Civil Code §3287.
  23
                                      SEVENTH CAUSE OF ACTION
  24
                           (Sex/Pregnancy Discrimination in Violation of FEHA)
  25
                                             (Against All Defendants)
  26
              49.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
  27
       and incorporates each by reference as through fully set forth hereat.
  28


                                        COMPLAINT FOR DAMAGES
                                                10 of 18

                                                                                             EXHIBIT A, PAGE 25
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 12 of 22 Page ID #:28




   1
              50.     At all times herein mentioned, Government Code § 12940 et seq., § 12926.1, §
   2
       12945.2 (“FEHA”) were in full force and effect and binding upon Defendants. The FEHA
   3
       requires that Defendants refrain from discharging any person from employment on the basis of
   4
       sex, including pregnancy.
   5
              51.     Plaintiff is, and at all times herein mentioned was a female “employee” who was
   6
       pregnant and took maternity leave during her employment with Defendants.
   7
              52.     Plaintiff is informed and believes and thereon alleges that Defendants terminated
   8
       Plaintiff substantially based upon her sex/pregnancy.
   9
              53.     As such, Defendants’ termination of Plaintiff was in violation of the FEHA.
  10
       Plaintiff’s pregnancy and/or female sex was a substantial motivating reason for Defendants’
  11
       decision to terminate Plaintiff. Plaintiff was harmed, and Defendants’ conduct was a substantial
  12
       factor in causing Plaintiff’s harm.
  13
              54.     As a result of Defendants’ wrongful discharge of Plaintiff, she has suffered and
  14
       continues to suffer damages in the form of lost wages and other employment benefits, and severe
  15
       emotional and physical distress, the exact amount of which will be proven at trial.
  16
              55.     Defendants and each of them acted for the purpose of causing Plaintiff to suffer
  17
       financial loss and severe emotional distress and physical distress and are guilty of oppression and
  18
       malice, justifying an award of exemplary and punitive damages which will be proven at trial.
  19
              56.     As a proximate result of the wrongful acts of Defendants, Plaintiff has been
  20
       forced to hire attorneys to prosecute her claims herein and has incurred and is expected to
  21
       continue to incur attorneys’ fees and costs in connection therewith. Plaintiff is entitled to recover
  22
       attorneys’ fees and costs under California Government Code §12965(b).
  23
              57.     The actions taken against Plaintiff were carried out and ratified by officers and
  24
       managers of Defendants. In addition, Defendants had in place policies and procedures that
  25
       specifically prohibited discrimination based on sex/pregnancy and required Defendants’
  26
       managers, officers, and agents to prevent sex/pregnancy discrimination. However, Defendants
  27
       chose to consciously and willfully ignore said policies. Therefore, Defendants’ conduct was
  28
       outrageous, malicious, oppressive and done in wanton disregard for the rights of Plaintiff and

                                        COMPLAINT FOR DAMAGES
                                                11 of 18

                                                                                              EXHIBIT A, PAGE 26
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 13 of 22 Page ID #:29




   1
       other female/pregnant employees. Each Defendant aided, abetted, participated, authorized,
   2
       ratified, and/or conspired to engage in the wrongful conduct alleged herein. Plaintiff should,
   3
       therefore, be awarded exemplary and punitive damages against each Defendant in an amount to
   4
       be determined at trial.
   5
                                       EIGHTH CAUSE OF ACTION
   6
                                   (Discrimination in Violation of CFRA)
   7
                                           (Against All Defendants)
   8
              58.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
   9
       and incorporates each by reference as through fully set forth hereat.
  10
              59.     All relevant times herein, Plaintiff was entitled to protected leave under the
  11
       FEHA, which includes Government Code § 12945.2 et seq. (“CFRA”). Defendants did business
  12
       in the State of California, and Plaintiff is informed and believes Defendants employed 5 or more
  13
       full or part-time employees.
  14
              60.     It is unlawful for an employer to discriminate against any employee for exercising
  15
       their right to unpaid leave under the CFRA.
  16
              61.     Plaintiff has a disability under FEHA/CFRA and was further entitled to both
  17
       Pregnancy Disability Leave (“PDL”) and baby-bonding leave under CFRA. Plaintiff gave
  18
       appropriate notice of her need to be absent from work at least 30 days before leave was to begin,
  19
       or alternatively as soon as practicable after she learned of the need for medical leave.
  20
       Nevertheless, Plaintiff was terminated while on CFRA leave, and Plaintiff’s medical leave was a
  21
       substantial, motivating, and determinative factor for Defendants to terminate Plaintiff’s
  22
       employment.
  23
              62.     As a proximate result of the aforesaid acts and omissions of Defendants, Plaintiff
  24
       has suffered actual, consequential and incidental financial loss, including, loss of wages and
  25
       benefits, and the intangible loss of employment related opportunities in her field, and future
  26
       employment in her profession.
  27
              63.     As a proximate result of the wrongful acts of Defendants, Plaintiff has been
  28
       forced to hire attorneys to prosecute her claims herein, and has incurred and is expected to

                                        COMPLAINT FOR DAMAGES
                                                12 of 18

                                                                                             EXHIBIT A, PAGE 27
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 14 of 22 Page ID #:30




   1
       continue to incur attorneys’ fees and costs in connection therewith. Plaintiff is entitled to recover
   2
       attorneys’ fees and costs under California Government Code §12965(b).
   3
              64.     The actions taken against Plaintiff were carried out and ratified by officers and
   4
       managers of Defendants. In addition, Defendants had in place policies and procedures that
   5
       specifically prohibited discrimination based on disability and required Defendants’ managers,
   6
       officers, and agents to prevent disability discrimination. However, Defendants chose to
   7
       consciously and willfully ignore said policies. Therefore, Defendants’ conduct was outrageous,
   8
       malicious, oppressive and done in wanton disregard for the rights of Plaintiff and other disabled
   9
       employees. Each Defendant aided, abetted, participated, authorized, ratified, and/or conspired to
  10
       engage in the wrongful conduct alleged herein. Plaintiff should, therefore, be awarded exemplary
  11
       and punitive damages against each Defendant in an amount to be determined at trial.
  12                                      NINTH CAUSE OF ACTION
  13                                  (Interference with CFRA Rights)
  14                                       (Against All Defendants)
  15          65.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
  16   and incorporates each by reference as through fully set forth hereat.
  17          66.     All relevant times herein, Plaintiff was entitled to protected leave under the
  18   FEHA, which includes Government Code § 12945.2 et seq. (“CFRA”). Defendants did business
  19   in the State of California, and Plaintiff is informed and believes Defendants employed 5 or more
  20   full or part-time employees.
  21          67.     The CFRA provide job security to an employee who is absent from work because
  22   of the employee’s pregnancy-related disability and baby bonding, amongst other things.
  23          68.     It is unlawful for an employer to interfere with, restrain, or deny the exercise of or
  24   the attempt to exercise, any right under the CFRA. (Cal. Gov. Code § 12945.2.) It is likewise
  25   unlawful for an employer to refuse to grant an employee medical leave under the CFRA.
  26          69.     Defendants willfully interfered with Plaintiff’s FMLA/CRFA rights and her
  27   exercise of those rights by terminating her employment while she was on CFRA leave. Plaintiff
  28   gave appropriate notice of her need to be absent from work at least 30 days before leave was to


                                        COMPLAINT FOR DAMAGES
                                                13 of 18

                                                                                              EXHIBIT A, PAGE 28
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 15 of 22 Page ID #:31




   1
       begin, or alternatively as soon as practicable after she learned of the need for leave. Nevertheless,
   2
       Plaintiff was terminated while on CFRA leave, and Plaintiff’s leave was a substantial,
   3
       motivating, and determinative factor for Defendants to terminate Plaintiff’s employment.
   4
       Further, Defendants’ made false representations to Plaintiff about her rights under CFRA via
   5
       emails on or about August 2, 2021.
   6
              70.     As a proximate result of the aforesaid acts and omissions of Defendants, Plaintiff
   7
       has suffered actual, consequential and incidental financial loss, including, loss of wages and
   8
       benefits, and the intangible loss of employment related opportunities in her field, and future
   9
       employment in her profession. Further, Defendants’ interference with Plaintiff’s CFRA rights
  10
       was not in good faith; therefore, Plaintiff may recover, as liquidated damages, an additional
  11
       amount equal to the entire award of lost wages, benefits, etc., and interest.
  12
              71.     As a proximate result of the wrongful acts of Defendants, Plaintiff has been
  13
       forced to hire attorneys to prosecute her claims herein, and has incurred and is expected to
  14
       continue to incur attorneys’ fees and costs in connection therewith. Plaintiff is entitled to recover
  15
       attorneys’ fees and costs. (29 U.S.C. § 2617(a)(3) and 29 C.F.R. § 825.400(c); Cal. Gov. Code, §
  16
       12965, subd. (b).)
  17
                                            TENTH CAUSE OF ACTION
  18
                                         (Retaliation in Violation of CFRA)
  19
                                               (Against All Defendants)
  20
              72.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
  21
       and incorporates each by reference as through fully set forth hereat.
  22
              73.     All relevant times herein, Plaintiff was entitled to protected leave under the
  23
       FEHA, which includes Government Code § 12945.2 et seq. (“CFRA”). Defendants did business
  24
       in the State of California, and Plaintiff is informed and believes Defendants employed 5 or more
  25
       full or part-time employees.
  26
              74.     It is unlawful for an employer to retaliate against an employee for requesting or
  27
       taking protected leave under the CFRA. (Cal. Gov. Code § 12945.2(l).)
  28


                                        COMPLAINT FOR DAMAGES
                                                14 of 18

                                                                                             EXHIBIT A, PAGE 29
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 16 of 22 Page ID #:32




   1
              75.     Plaintiff was eligible for both pregnancy leave and baby bonding leave due to her
   2
       pregnancy, and both requested and took leave for her pregnancy.
   3
              76.     Defendants terminated Plaintiff’s employment based on Plaintiff’s taking of
   4
       “maternity leave” and request further leave, or a part-time accommodation, to bond with her
   5
       baby. Plaintiff’s requested and taken leave was a substantial motivating reason for her
   6
       termination by Defendants. Plaintiff was harmed, and Defendants’ termination of Plaintiff’s
   7
       employment was a substantial factor in causing Plaintiff’s harm.
   8
              77.     As a proximate result of the aforesaid acts and omissions of Defendants, Plaintiff
   9
       has suffered actual, consequential and incidental financial loss, including, loss of wages and
  10
       benefits, and the intangible loss of employment related opportunities in her field, and future
  11
       employment in her profession. Further, Defendants’ interference with Plaintiff’s CFRA rights
  12
       was not in good faith; therefore, Plaintiff may recover, as liquidated damages, an additional
  13
       amount equal to the entire award of lost wages, benefits, etc., and interest. As a proximate result
  14
       of the wrongful acts of Defendants, Plaintiff has been forced to hire attorneys to prosecute her
  15
       claims herein, and has incurred and is expected to continue to incur attorneys’ fees and costs in
  16
       connection therewith. Plaintiff is entitled to recover attorneys’ fees and costs.
  17
                                         ELEVENTH CAUSE OF ACTION
  18
                               (Wrongful Termination in Violation of Public Policy)
  19
                                               (Against All Defendants)
  20
              78.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
  21
       and incorporates each by reference as through fully set forth hereat.
  22
              79.     The FEHA, CFRA, and other California laws, reflect the fundamental public
  23
       policies of the State of California. These public policies are designed to prevent
  24
       discrimination/retaliation based on sex/pregnancy and to prevent the interference of employee’s
  25
       rights to use protected leave, amongst other public polices.
  26
              80.     The actions of Defendants in terminating Plaintiff on the grounds alleged herein
  27
       were wrongful and in direct contravention of the fundamental public policies of the State of
  28
       California.

                                        COMPLAINT FOR DAMAGES
                                                15 of 18

                                                                                            EXHIBIT A, PAGE 30
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 17 of 22 Page ID #:33




   1
              81.     As a proximate result of the aforesaid acts and omissions of Defendants, Plaintiff
   2
       has suffered actual, consequential and incidental financial loss, including, loss of wages and
   3
       benefits, and the intangible loss of employment related opportunities in her field, and future
   4
       employment in her profession.
   5
              82.     As a proximate result of the wrongful acts of Defendants, Plaintiff has been
   6
       forced to hire attorneys to prosecute her claims herein, and has incurred and is expected to
   7
       continue to incur attorneys’ fees and costs in connection therewith. As a result of the acts of
   8
       Defendants as alleged herein, Plaintiff is entitled to reasonable attorneys’ fees and costs as
   9
       provided in Code of Civil Procedure § 1021.5.
  10
                                      TWELFTH CAUSE OF ACTION
  11
              (Unfair Competition –Violation of Business and Profession Code 17200 et seq.)
  12
                                           (Against All Defendants)
  13
              83.     Plaintiff incorporates each allegation set forth in the paragraphs above, inclusive,
  14
       and incorporates each by reference as through fully set forth hereat.
  15
              84.     Defendants’ misclassification of Plaintiff and related failure to compensate for
  16
       unprovided meal/rest periods as required under the IWC Wage Orders and under the California
  17
       Labor Code, failure to issue accurate wage statements as alleged herein, failure to provide all
  18
       wages due upon termination, failure to timely pay wages, failure to reimburse necessary business
  19
       expenses, violations of FEHA and CFRA, and wrongful termination in violation of public policy
  20
       constitute unlawful activity prohibited by Business & Professions Code §17200, et seq.
  21
              85.     The actions of Defendants in failing to pay Plaintiff in a lawful manner, and
  22
       terminating Plaintiff in violation of Gov. Code § 12940 et seq., as alleged herein, constitute false,
  23
       unfair, fraudulent and deceptive business practices within the meaning of Business & Professions
  24
       Code §17200, et seq.
  25
              86.     Plaintiff is entitled to an injunction and other equitable relief against such
  26
  27   unlawful practices in order to prevent future damage, for which there is no adequate remedy at

  28   law, and to avoid a multiplicity of lawsuits.



                                        COMPLAINT FOR DAMAGES
                                                16 of 18

                                                                                               EXHIBIT A, PAGE 31
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 18 of 22 Page ID #:34




   1
               87.     As a result of their unlawful acts, Defendants should be enjoined from its activity
   2
       and restore to Plaintiff the wrongfully withheld compensation pursuant to Business &
   3
       Professions Code §17203. Plaintiff is informed and believes and based thereon alleges that
   4
       Defendants are unjustly enriched through their misclassification of Plaintiff resulting in her not
   5
       receiving premium pay for missed meal periods and rest breaks, failure to pay all wages earned
   6
       upon termination, and failure to timely pay wages. Plaintiff is informed and believe and based
   7
       thereon alleges that Plaintiff is prejudiced by Defendants’ unfair trade practices.
   8
               88.     As a direct and proximate result of the unfair business practices of Defendant,
   9
       Plaintiff is entitled to equitable and injunctive relief, including full restitution and/or
  10
       disgorgement of all wages and overtime which have been unlawfully withheld from Plaintiff as a
  11
       result of the business acts and practices described herein and enjoining Defendant to cease and
  12
       desist from engaging in the practices described herein.
  13
  14           WHEREFORE, Plaintiff prays for the following relief against all Defendants:

  15           A. As to the First through Sixth Causes of Action,
                       a. Compensatory damages according to proof at trial;
  16
                       b. Statutory damages, liquidated damages and penalties.
  17
                       c. Prejudgment and post judgment interest; and
  18
                       d. Any other relief the court deems proper.
  19           B. As to the Seventh through Eleventh Causes of Action,
  20                   a. General and special damages according to proof at trial;
  21                   b. Exemplary and punitive damages according to proof at trial;

  22                   c. Reasonable attorneys’ fees and costs under 29 U.S.C. § 2617(a)(3) and 29
                           C.F.R. § 825.400(c);
  23
                       d. Prejudgment and post judgment interest; and
  24
                       e. Any other relief the court deems proper.
  25
               C. As to the Twelfth Cause of Action,
  26
                       a. For preliminary and permanent injunctions pursuant to Business &
  27                       Professions Code §17203, enjoining and restraining Defendants from
  28                       continuing the unlawful and unfair business practices set forth above and


                                         COMPLAINT FOR DAMAGES
                                                 17 of 18

                                                                                                 EXHIBIT A, PAGE 32
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 19 of 22 Page ID #:35




    1                requiring the establishment of appropriate and effective means to prevent
    2                future violations;

    3             b. For restitution of wages and benefits due which were acquired by means of
                     any unfair business practice, according to proof.
    4
                  c. For all such other and further relief that the court may deem just and proper.
    5
    6                                           Respectfully Submitted,

    7                                               FALAKASSA LAW, P.C.

    8                                               Dated this 2nd of February 2022

    9
   10
   11
   12                                               Joshua S. Falakassa
                                                    Gregory Lang
   13                                               Attorney for Plaintiff Espri L’heureux

   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                   COMPLAINT FOR DAMAGES
                                           18 of 18

                                                                                      EXHIBIT A, PAGE 33
   Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 20 of 22 Page ID #:36
             Electronically Filed by Superior Court of California, County of Orange, 02/03/2022 10:18:59 AM.
30-2022-01243706-CU-WT-CJC - ROA # 3 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy        Clerk.
                                                                                                             CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY ln arne,        Stale Bar numl»r end addmasl                                                   FOR COURT USE ONLY
     Joshua Falakassa (SBN ¹295045)
     1901 Avenue Of The Stars, Ste 450, Los Angeles, CA 900674)006

              TELEPHONE NO           618-456-6166                   FAX NO   /opt/ones
              E-MAILAODRESS         josh falakassalaw.corn
       ATTORNEY    FoR russ»/        Espri L'Heureux
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
      sTREET ADDREss 700 W Civic Center Dr
      MmuNGAooREss 700 W Civic Center Dr
     cITY AND zIPcoDE Santa Ana, CA 92701
           BRANcH NAME    Central Justice Center
     CASE NAME;



                                           ~                                                     ~
                                                                                                                       CASE NUMBER

     ~x
            CIVIL CASE COVER SHEET
             Unlimited
             (Amount
                              Limited
                              (Amount
                                                                       ~  Complex Case Designation
                                                                                Counter                    Joinder
                                                                     Filed with first appearance by defendant
                                                                                              JUDGE
             demanded             demanded is
                                                                         (Cal. Rules of Court, rule 3.402)
                                                                                               DEPT
             exceeds $ 25,000)    $ 25,000 or less)
                                     //arne 1-6 below musi be completed (see insfruclions on page 2).
      1. Check one box below for the case type that best describes this case:


           ~
           Auto Tort

           ~     Auto(22)                                            ~
                                                                     Contract

                                                                     ~       Breach of contract/warranty (08)
                                                                                                                     Provislonagy Complex Clvg Litigation

                                                                                                                     ~
                                                                                                                     (Cal. Rules of Court, rules 3.400-3.403)
                  Uninsured motorist (48)
           Other PI/PDRND (Personal Injury/Property                  ~
                                                                     ~
                                                                             Rule 3.740 coaedions (09)
                                                                             Other cosedicns (09)                    ~
                                                                                                                     ~
                                                                                                                            Anfitrust/Trade regulation (03)
                                                                                                                            Construdion defect (10)


           ~
           Damage/Wrongful Death) Tort


           ~    Asbestos (04)
                                                                     ~       Insurance coverage (18)
                                                                             Other contrad (37)                      ~
                                                                                                                     ~
                                                                                                                           Masston(40)
                                                                                                                           Securities litigation (28)


           ~
           ~
                  Product liabsity (24)
                  Medical malprsdice (45)
                                                                     ~
                                                                     Real Property
                                                                   Eminent domain/Inverse                            ~     EnvironmentsUToxic tort (30)
                                                                                                                           Insurance coverage daims arising from the
                                                                                                                           above listed provisionally complex case


           ~
                  Other Pl/PD/WD (23)
           Non-PI/PDAND (Other) Tort                                 ~
                                                                   condemnation (14)


                                                                     ~
                                                                   Wrongful evidlon (33)

                                                                                                                     ~
                                                                                                                           h pea (4t)
                                                                                                                     Enforcement of Judgment

           ~
           ~
                 Business tort/unfair
                 Civil rights (08)
                                       business pradlce (07)       Other real property (26)

                                                                     ~
                                                             Unlawful Detainer

                                                                                                                     ~
                                                                                                                           Enforcement of judgment (20)
                                                                                                                     Miscellaneous Clvfi Complaint

           ~
           ~
                 Defamation (13)
                 Fraud (16)                                          ~
                                                                   Commerdsl (31)


                                                                     ~
                                                                   Resklential (32)
                                                                                                                     ~     RICO(27)
                                                                                                                           Other complaint ino/ speci/ied above) (42)

           ~
           ~
                  Intellectual property (19)
                  Professional negligence (25)
                                                                   Drugs(38)
                                                             Judicial
                                                                     ~Review
                                                                                                                     ~
                                                                                                                     Mlsceffaneous Clv8 Petition
                                                                                                                           Partnership and corporate governance (21)
                 Other non-Pl/PD/WD tort (35)
           Employment                                                ~
                                                                   Asset forfeiture (05)


                                                                     ~
                                                                   Petition re: arbitration award (11)               ~     Other petition (no/ speci/ied above) (43)




      2.
           ~ ~
           ~x Wrongful termination (38)
                  Other employment (15)
          This case         is
                                                                     ~
                                                                   Writ of mandate (02)
                                                                              Other judicial review (39)

                                   ~x is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the

         a.
         b.
            ~
          factors requiring exceptional judicial management;

            ~      Large number of separately represented parties
                   Extensive motion practice raising difficult or novel e.
                                                                          d.                   ~
                                                                                               ~
                                                                                      Large number of witnesses
                                                                                      Coordination with related actions pending in one or more
                                                                                      courts in other counties, states, or countries, or in a federal
         c. ~      issues that will be time-consuming to resolve
                   Substantial amount of documentary evidence
                                                                          f.                   ~
                                                                                      Substantial postjudgment judicial supervision
      3. Remedies sought (checks//that apply): a. ~x monetary b. ~x nonmonetary; declaratory or injunctive relief c. ~x                       punitive
                                                                                                                                    causes      action
              ~
      4 Number of causes of action (specify): 12,
      5. This case          is     ~x is not      a
                                                     Wrongful
                                                    dass  action
                                                                termination
                                                                  suit.
                                                                             in violation of FEHA,  misdassification,

      6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
                                                                                                                       and  related          of



      Date: February 2, 2022
     Joshua Falakassa
                                      iTYPE OR PRINT NAMEi


            Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small daims cases or cases filed
            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
            in sanctions.
            File this cover sheet in addition to any cover sheet required by local court rule.
            If this case is complex under rule 3.400 et seq, of the California Rules of Court, you must serve a copy of this cover sheet on afi
            other parties to the action or proceeding.
            Unless this is a collections case under rule 3.740 or 8 complex case, this cover sheet will be used for statistical purposes only.                            Pass I of 2
                                                                                                                              Csl Rules of Court, rules 2 30, 3220, 3 400-3 403, 3 240.
      Farm Ad spied farM artd ate   o Um                                 CIVIL CASE COVER SHEET                                      Cal. Standards ot Judo»l Adminislral on. std. 3 10
        dud»el Counol af Caldomm
      c M.010 I Res sePtember I, 20211                                                                                                                               www snuffs as pov




                                                                                                                                                         EXHIBIT A, PAGE 34
Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 21 of 22 Page ID #:37


                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM4)10
 To Plaintiffs and Others Filing First Papem. If you are filing a fust paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case ftls both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $ 25,000, exclusive of interest and attorney's fees, arising from a transaction in which
 property, services, or money was acquired on credit. A collections case does not indude an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a p(aintiff designates a case as complex, the cover sheet must be served with the
 complaint on afi parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES AND EXAMPLES
   Auto Tort                                                                                         Provlsionagy Complex Civg Litigation (Cal.
            (22)-Personal                             Breach of Contrad/Wsnsnty (06)                 Rules of Court Rules 3.400-3.403)
     Auto                Injury/Properly
                                                         Breach of RentaULease                          AntitrusUTrade Regulation (03)
         Damage/Wrongful Death
                                                             Contract (not un/a w/u/ tel ainer          Construcbon Defect (10)
      Uninsured Motorist (46) (i/the
       case involves en uninsvmd                                 or wrongfiri eviction)                 Claims Involving Mass Tort (40)
       mo/oriel daim subject lo
                                                        Contrad/Warranty Breach-Seller                  Securiries Litigation (26)
                                                            Plalntilf (not fraud or neg/igencej         EnvironmentaUToxic Torl (30)
       arbi/ra/ion, check Ibis ilem
       ins/eed of Auto)                                 Negligent Breach of Conlracu                    Insurance Coverage Claims
  Other PI/PD/WD (Pemonal Injury/                           Warranty                                          (arising /rom provisgona//y complex
                                                        Other Breach of ContracWVarranty                      case lype listed above/ (41)
  Property Damage/Wrongful Death)
                                                     Cogedions (e.g.. money owed. open              Enforcement of Judgment
  Tort
                                                        book accounts) (09)                           Enforcement of Judgment (20)
       Asbestos (04)
         Asbestos Properly Damage                       Cosecfion   0~Ter         Plaintiff               Abstract of Judgment (Out of
         Asbestos Personal injury/                      Other Promlssmy Note/Cofiedions                        County)
              Wrongful Death                                                                          Confession of Judgment (non-
                                                     Insurance Coverage (noi provisions//y                 domes/re reiebons/
       Product Liability (no/ esbesios or
          /oae/envtmnmen/a/I (24)                                                                     Sister State Judgment
       Medical Malpradice (45)
                                                         Auto Subrogafion                             Administrative Agency Award
           Medical Malpradice-
                                                        Other Coverage                                    (no/ unpaid iaxesj
                                                     Other Contracl (37)                               Petition/Certification of Enby of
               Physicians & Surgeons
       Other Professional Health Care                                                                      Judgment on Unpaid Taxes
                Malpractice
                                                         Other Contract Dispute                        Other Enforcement of Judgment
                                                  Real Properly                                            Case
       Other Pl/PD/WD (23)
          Premises Liability (e g., slip             Eminent Domain/inverse                         Mlscegeneous Clvg Complaint
                anri fall)
                                                         Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PDAND                                                             Other Complaint (nol speci/ied
                                                     Other Real Properly (e g., quiet title) (26)          above/(42)
                 (e g.. assault. vandalism)
                                                        Writ of Possession of Real Property                Dedaratory Relief Only
           Intentional Infliction of
                Emotional Distress                      Mortgage Foredosure                                Injunctive Relief Only (non-
                                                        Quiet Title                                              harassment)
           Negiigent Infiiction of
                 Emotional Distress
                                                        Other Real Property (noi eminenl                   Mechanics Lien
           Other Pl/PDNllD                              domevr, /snd/ordtenent, or                         Other Commercial Complaint
   Non-PI/PD/WD (Other) Tort                                                                                     Case (non-tort/non-comp/ex)
      Business Tort/Unfair Business                                                                        Other Civil Complaint
                                                     Commercial (31)                                             (non-iortrnon-comp/ex/
          Practice (07)
                                                     Residential (32)                               Miscellaneous Clvg Petition
      Civil Rights (e g., discriminafion,
            false arrest) inol dvi/                  Dmgs (36) (i/ lire csee involves 2//ege/          Partnership and Corporate
            harassmenij (08)                         drugs, check Ibis item, o/berwise,                   Governance (21)
       Defamation (e g., slander, libel)             report as Commercis/ or Residential)              Other Petition /nor speci/ied
                                                  Judicial Review                                          above/ (43)
             (13)
       Fraud (16)
                                                     Asset Forfexure (05)                                  Civil Harassment
                                                     Petifion Re: Arbitration Award (11)                   Workplace Violence
       Intesectuat Property (1 0)
                                                     Writ of Mandate (02)                                  Elder/Dependent Adult
       Professional Negligence (25)
                                                         Writ-Administrative Ltandamus                          Abuse
                                                         Writ-Mand amus on Umited Court                    Eledion Contest
           Other Professional Malpradice
              (noi medical or /ege//                                                                       Petition for Name Change
                                                         Writ-Other umber Court Case                       Petition for Relief From Late
        Other Non-Pl/PD/WD Tort (35)
   Employment                                                                                                  Claim
                                                      Other Judicial Rew'ew (39)                           Other Civil Petition
        Wrongful Terminarion (36)
                                                         Review of Hesiih Oflicer Order
        Other Employmenl (15)
                                                         Notice of Appe~bor
                                                              Commissioner A eels
  Suet 0 Ixev   september 1, 20211                                                                                                          Page2e/2
                                                          CIVIL CASE COVER SHEET




                                                                                                                                  EXHIBIT A, PAGE 35
       Case 8:22-cv-01363-CJC-DFM Document 1-1 Filed 07/22/22 Page 22 of 22 Page ID #:38
             Electronically Filed by Superior Court of California, County of Orange, 02/03/2022 10:18:59 AM.
30-2022-01243706-CU-WT-CJC - ROA # 4 - DAVID H. YAMASAKI, Clerk of the Court By Hailey McMaster, Deputy Clerk.
                                                                                                                                                     SUM-100
                                            SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                   (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
  VIVAVENTURES OIL SANDS; VIVAKOR, INC., a Nevada Corporation; RPC Design and
  Manufacturing, LLC, a Utah Limited Liability Company; and DOES 1 through 20, inclusive.
  YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTÁ DEMANDANDO EL DEMANDANTE):
  ESPRI L’HEUREUX, an individual.

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
  court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
  continuación.
     Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
  le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
  quitar su sueldo, dinero y bienes sin más advertencia.
     Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
  remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
  programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
  colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
  The name and address of the court is:                                                         CASE NUMBER: (Número del Caso):
  (El nombre y dirección de la corte es): ORANGE COUNTY SUPERIOR COURT
  CENTRAL JUSTICE CENTER
  700 Civic Center Drive West, Santa Ana, CA 92701
  The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
  de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
  Joshua Falakassa, 1901 Avenue Of The Stars, Ste 450, Los Angeles, CA 90067-6006, 818-456-6168
  DATE:                                                                          Clerk, by                                          , Deputy
            February 2, 2022
  (Fecha)                                                                        (Secretario)                                       (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
   [SEAL]
                                       1.         as an individual defendant.
                                       2.         as the person sued under the fictitious name of (specify):

                                       3.         on behalf of (specify): RPC Design and Manufacturing, LLC
                                            under:       CCP 416.10 (corporation)                                   CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                           CCP 416.70 (conservatee)
                                                         CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                         other (specify): Limited Liability Company
                                       4.         by personal delivery on (date):                                                                        Page 1 of 1
  Form Adopted for Mandatory Use
  Judicial Council of California
                                                                       SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                   www.courts.ca.gov
  SUM-100 [Rev. July 1, 2009]

                                                                                                                                EXHIBIT A, PAGE 36
